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     Attorneys for Defendants
 5   Translucence Research, Inc., Benjamin
     Fisch, Charles Lu, Nathan McCarty,
 6   Benedikt Bünz, and Binyi Chen and
     Specially Appearing Defendant
 7   Alex Xiong
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                                    UNITED STATES DISTRICT COURT
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                              NORTHERN DISTRICT OF CALIFORNIA
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     TEMUJIN LABS INC., a Delaware                CASE NO. 5:21-cv-09152-NC
13   corporation, and TEMUJIN LABS INC., a
     Cayman Islands corporation                   APPEARANCE OF COUNSEL FOR
14                                                SPECIALLY APPEARING DEFENDANT
                      Plaintiffs,                 ALEX XIONG
15
            vs.
16                                                Complaint Filed:   November 24, 2021
     TRANSLUCENCE RESEARCH, INC., a
17   Delaware corporation, BENJAMIN FISCH,
     CHARLES LU, BENEDIKT BÜNZ,
18   NATHAN MCCARTY, FERNANDO
     KRELL, PHILIPPE CAMACHO CORTINA,
19   BINYI CHEN, AND LUOYUAN (ALEX)
     XIONG, and DOES 1-20,
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                      Defendants.
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                                                                NOTICE OF SPECIAL APPEARANCE
                                                                      CASE NO. 5:21-CV-09152-NC
        Case 5:21-cv-09152-NC Document 69 Filed 10/03/23 Page 2 of 2



 1   To the Clerk of the Court and all parties of record:
 2          Undersigned Counsel hereby affirms that he is admitted and/or otherwise authorized to
 3   practice in this Court, and he appears in this case as counsel for: Specially Appearing Defendant
 4   Alex Xiong (“Mr. Xiong”).
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 6                                                   ***
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            Mr. Xiong hereby specially appears in this matter to reserve his right to contest any
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     purported service of process on him, upon (i) the filing of any proof of service by Plaintiff
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     Temujin Labs, Inc., a Cayman Islands Corporation and/or Plaintiff Temujin Labs, Inc., a
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     Delaware Corporation purporting to reflect service upon Mr. Xiong; and (ii) any termination of
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     the pending stay in this matter.
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            Moreover, to the extent Mr. Xiong is found to be duly served with process and following
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     the expiration of any stay, he would join fully in a reasserted motion to dismiss filed by the other
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     parties represented by undersigned counsel. (See ECF No. 65 Order Granting in Part Defendants’
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     Motion to Dismiss or Stay; Vacating CMC; Staying Case at 1, “This Order does not reach the
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     other arguments raised in the motion to dismiss. Those arguments may be reasserted by
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     Defendants after the stay is lifted.”; see also ECF No. 26, Motion to Dismiss.)
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20    DATED: October 3, 2023                  THE DURRANT LAW FIRM, APC
21
22                                            By:                /s/ John Durrant
                                                                     JOHN DURRANT
23
                                              Attorneys for Defendants
24                                            Translucence Research, Inc., Benjamin Fisch, Charles
                                              Lu, Nathan McCarty, Benedikt Bünz, and Binyi Chen
25                                            and
                                              Specially Appearing Defendant Alex Xiong
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                                                                        NOTICE OF SPECIAL APPEARANCE
                                                                              CASE NO. 5:21-CV-09152-NC
